                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

  In re: William Barrier Roberts                  Case No.: 18-83442-CRJ-7
         SSN: xxx-xx-9314

                 Debtor.                           Chapter 7




                   TRUSTEE'S OBJECTION TO PROOF OF CLAIM OF
                   SHANNAN LEAGUE ROBERTS [CLAIMS DOC. 17-1]

        COMES NOW Tazewell T. Shepard III, trustee of the bankruptcy estate of the above-
 captioned Chapter 7 debtor (the "Trustee"), and shows unto this Honorable Court as follows:

                                           Background

        1.      On November 16, 2018, (the "Petition Date") William Barrier Roberts (the
 "Debtor") filed a petition under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101
 et seq. (the "Bankruptcy Code") in the United States Bankruptcy Court for the Northern District
 of Alabama, Northern Division (the "Bankruptcy Court").

        2.      This case voluntarily converted to Chapter 7 on June 22, 2020. The Bankruptcy
 Court appointed Tazewell T. Shepard III as the duly qualified and acting Chapter 7 trustee (the
 "Trustee").

        3.      This Court has subject matter jurisdiction to consider and determine this motion
 under 28 U.S.C. § 1334. This matter is a core proceeding under 28 U.S.C. § 157(b). Venue is
 proper before this Court under 28 U.S.C. §§ 1408 and 1409.

        4.      The Trustee brings this motion pursuant to Rule 3007 of the Federal Rules of
 Bankruptcy Procedure. In addition, this motion is a contested matter under Rule 9014 of the
 Federal Rules of Bankruptcy Procedure.

                                        Proof of Claim 17-1

        5.      On August 27, 2020, creditor Shannan League Roberts ("Mrs. Roberts") filed a
 proof of claim for $250,000.00 arising from a divorce settlement agreement (the "Settlement




Case 18-83442-CRJ7         Doc 499    Filed 09/10/21 Entered 09/10/21 10:01:48           Desc Main
                                     Document     Page 1 of 3
 Agreement"). [Claims Doc. 17-1]. It is unclear from the face of the proof of claim and its
 attachments how she tabulated the value of her claim.

        6.      The Settlement Agreement is attached to the proof of claim as an exhibit. Mrs.
 Roberts listed her claim as general unsecured.

        7.      According to the Settlement Agreement, Debtor and Mrs. Roberts consummated
 the agreement on August 20, 2019, one year after the Petition Date.

        8.      This Court never approved the Settlement Agreement, and it is void. Further, the
 Settlement contains numerous property transfers between Debtor and Mrs. Roberts that violate the
 priorities of distributions to creditors under 11 U.S.C. § 507.

        9.      Trustee understands that Mrs. Roberts is presently litigating her rights to proceeds
 from a life insurance policy described in the Settlement Agreement in an action styled New York
 Life Insurance Company v. Shannan Roberts, et al. 5:20-cv-01299-LCB before the District Court
 for the Northern District of Alabama (the "Life Insurance").

        10.     The bankruptcy estate claims no interest in the Life Insurance.

        11.     Aside from the Life Insurance, it is unclear from the Settlement Agreement what,
 if anything, Mrs. Roberts claims owed as a claimant from the bankruptcy estate. Accordingly, the
 Trustee objects to proof of claim 17-1.

        WHEREFORE, premises considered, the Debtor respectively requests this Court to enter
 an Order: sustaining its objection to the proof of claim 17-1; and granting such relief as this Court
 deems just and proper.

        Respectfully submitted this the 10th day of September, 2021.
                                               /s/ Tazewell T. Shepard IV
                                               Tazewell T. Shepard III
                                               Tazewell T. Shepard IV
                                               Attorneys to the Trustee

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Case 18-83442-CRJ7        Doc 499    Filed 09/10/21 Entered 09/10/21 10:01:48              Desc Main
                                    Document     Page 2 of 3
                                  CERTIFICATE OF SERVICE

        This is to certify that I have this the 10th day of September, 2021 served the preceding
 document upon Richard Blythe, Attorney for the Bankruptcy Administrator, Andrew Shaver,
 Attorney for Shannan L. Roberts, and Shannan L. Roberts, Creditor, 1411 Sierra Blvd. Huntsville,
 AL 35801, and all persons requesting notice by electronic service through the Court's CM/ECF
 system and/or by depositing said copies in the United States Mail in properly addressed envelopes
 with adequate postage thereon.

                                          /s/ Tazewell T. Shepard IV
                                          Tazewell T. Shepard IV




Case 18-83442-CRJ7       Doc 499    Filed 09/10/21 Entered 09/10/21 10:01:48            Desc Main
                                   Document     Page 3 of 3
